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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case N o.   1f-Y V 1R
 UN ITED STA TES O F A M ER IC A

 VS.


 ABDUL.M AJEED M AROUF AHM ED ALANI,
                         D efendant.



                                   CRIM INAL COVER SH EET

       D id this m atter originate from a m atter pending in the CentralRegion of the U nited States
       Attorney'sOfficepriorto August9,2013 (M ag.JudgeAlicia Valle)?                Yes X No
 2. D id this m atteroriginate from a m atterpending in the N orthern Region ofthe U nited States
       Attorney'sOftk epriorto August8,2014 (M ag.Judge Shaniek M aynard)?           Yes X No

                                                      Respectfully subm itted,

                                                      A RIA N A FAJA RD O O RSH AN
                                                      UN ITED STATES ATTORN EY


                                               B y.
                                                  .         k    p                *
                                                      M aria K .M edetis
                                                      A ssistantU nited StatesA ttorney
                                                      Fla.BarN o. 1012329
                                                      99 N E 4th Street,8thFloor
                                                      M iami,Florida 33132
                                                      Tel:(305)961-9010
                                                      M aria.M edetis@usdoj.gov
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AO 91(Rev.ll/11) CriminalComplaint

                                 U NITED STATES D ISTRICT C OURT
                                      -                      jr
                                                              ortj
                                                                 ae
                                                  Southern DistrictOfFlorida

               United StatesofAmelica                           )
                            V.                                  '
     ABDUL-MAJEED MAROUF AHM ED ALANI,                          )
                                                                )
                                                                      casexo.           /4-3//4D o
                                                                )
                                                                )
                                                                )
                       Defendantls)

                                              CR N IN A L C O M PLA IN T
         1,thecomplainantin thiscase,statethatthefollowing istrueto the bestofmy knowledge andbelief.
Onoraboutthedatets)of                      July 17,2019            inthecountyof                 Miami
                                                                                                     -Dade              inthe
    Southern        Districtof             Florida          ,t
                                                             hedefendantts)violated:
           CodeSection                                                  OjfenseDescrlption
18 U.S.C.j32(a)(1)and(8)                     W ill
                                                 fullydamaging,destroying,ordisabling anaircraftin the speci
                                                                                                           alaircraft
                                            jurisdictionoftheUnitedStatesoranyci
                                                                               vilaircraftused,operated,or
                                             em ployed in interstate,overseas,orforeign aircom m erce, and attem pting to
                                             do so.




         Thiscriminalcomplaintisbasedon thesefacts:
See attached affidavit.




                                                                             .
                                                                             .''K
         d Continuedontheattachedsheet.                                     z.




                                                                                 -
                                                                                 .J                    !      s.ç-u-h
                                                                                          Printd nameand tite
                                                                                    /
Sworn to beforeme and signed in my presence.
                                                                                                              6
D ate:                                                                                            z.
                                                                                              dg 'ssig ture

city and state'
              .                      M iam i,Florida                      John J.O'SuIivan, hiefU .S.Magistrate Judge
                                                                                          Printednameand title
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                                                                            /q-3u.
                                                                                 1,: sào

                  A FFID AV IT IN SU PPO RT O F C RIM IN A L C O M PL AIN T

         1,JoseA.Ruiz,beingduly swol'n,do hereby depose and statethefollowing:

                Iam a duly appointed SeniorFederalA irM arshalw ith the Transportation Security

  Adm inistration,and have been so em ployed for over seventeen years. For approxim ately tw elve

  years,Iserved asadeployed airm arshalon both dom estic and internationalflights. Since M ay of

  2018,lhavebeen assigned to M iam ilnternationalAirportasaTaskForceOfticerwith theFederal

  Bureau of lnvestigation's JointTerrorism Task Force. M y duties include the investigation of

  violations offederallaw oecurring within the airportenvironmentand onboard aircraft. 1 am a

  law enforcementofticerwithinthemeaningofSedion2510(7)ofTitle18,UnitedStatesCode,in
  that1am em powered by law to conductinvestigationsofand m ake arrestsfor, butnotlim ited to,

 offensesenumerated in Title 18 oftheUnited StatesCode.

                ThisAffidavitisbeing presented forthe limited purpose ofestablishing probable

 eause in supportof a criminal complaint charging Abdul-M ajeed M arouf Ahmed ALANI
 (hereinafterALANI),an American Airlines(AA)employee atM IA,with willfully damaging,
 destroying,disabling,or w recking an aircraft,and attem pting to do so, in violation of Title 18,

 United StatesCode,Section 32(a)(1)and(a)(8).
               The statem ents contained in this A ffidavit are based upon m y own personal

 knowledge, training and experience, as well as infonnation provided to m e by other law

 enforcementoffieers and witnesses. Because this Affidavit is being submitted for the limited

 pum oseofsecuring aerim inalcomplaint,1havenotineluded eaeh and every fad knownto m eor

 law enforcem entaboutthisinvestigation. 1have setforth only the factsthatIbelieve are necessary

 to establish probablecause.
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                                  STA TU TO R Y AU TH O Y TY

               Title18,UnitedStatesCode,Section32(a)(1)makesitafederalcrimeto willfully
 setfireto,damage,destroy,disable,orwreckanyaircraftinthespecialaircrafljurisdictionofthe
 United States or any civilaircraftused,operated,or em ployed in interstate,overseas,or foreign

 aircommerce.Title18,United StatesCode,Section32(a)(8)makesitafederalcrimeto attempt
 to do so.

               Title49,United StatesCode,Section46501,definesspecialaircraftjurisdictionof
 the United States to include a civilaircraftofthe United States.

                                      PR O BA BLE CA U SE
                                           AircraftDisabled
        6.     On July l9,2019,the FBlw as contacted by A A Corporate Security regarding an

 incidentofpossible sabotage to an A A aircraft,furtheridentified asA A aircraftw ith nose num ber

 3M W (hereinaftertstheTargetAircraft''),thatoccurredonJuly 17,2019.TheTargetAircraftisa
 civilaircraftofthe U nited Statesand isused,operated,and em ployed in interstate and foreign air

 com m erce. A ccording to AA Corporate Security,on July 17,2019,atapproxim ately 8:39 a.m .,

 Eastern DaylightTime(EDT),theTargetAircraftarrived atM iamilnternationalAirport(M 1A)
 from O rlando InternationalA irport,Orlando,Florida,as AA Flight365. W ith the exception ofa

 m inorm aintenance issue involving a m alfunctioning lightbulb in the aircraft'scockpit,there were

 no otherreported issues w ith the TargetA ircraft. Approxim ately two hours afterits anivalinto

 M IA , the Target A ircraft pulled out of M 1A 's concourse D , gate 49, for its next scheduled

 departure to N assau,Baham as,asA A Flight2834. Thus,the TargetA ircraftw as setto travelin

 foreign com m erce.

               Aboard the TargetA ircraftw ere 150 individuals,including passengers and crew

 m em bers.Justpriorto taking the departurerunw ay,the flightcrew increased pow erto the engines

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  to pre-position the TargetAircraftfortakeoff. The adion ofpowqring up the TargetAircraft's

  enginesresultedin an errorrelatedtotheairdatamodule(ADM )system,which,inpart,reports
  aircraftspeed,pitch,and othercriticaltlightdata.Thetakeoffwasordered aborted and theTarget

 A ircraftw as directed to return to M IA 's concourse D ,gate 48, form aintenance.

                 A A m echanics responded to the Target A ircraft at concourse D ,gate 48. The

 mechanicsreviewed theen'ormessagesdisplayed in theflightdeck.Theythenconducted avisual

 inspedion ofthe ADM located inside the TargetAireraft's forward Eledronics and Equipment

 (E&E)compartment.Theforward E&E eompartmentisaecessed viaahateh on theexteriorof
 the aireraft,in frontofthe nose gear,and underneath the eockpit. An A A m echanic discovered a

 loosely colm ected pitottube,lw hich connects directly to the AD M . Further inspection revealed

 the ADM appeared to have been deliberately obstruded with what appeared to be a dark

 Styrofoam -type m aterial.

         9.      The TargetAircraftwasdeemed notairworthy and taken outofservice fornon-

 routine m aintenanceon July 17,2019,atapproxim ately 12:13 p.m .ED T. TheTargetAircraftw as

 towed to AA 'shangaratM lA where outofservice aircraftare repaired. The obstructed ADM

 wasrem oved and replaced with a fundioning ADM . Afterthe obstructed ADM wasremoved

 from theTargetAircraftandreplaced,theaircraftwasdeem ed again airworthy andplaced back in

 serviceon July 18,2019,atapproxim ately 4:12 a.m .EDT.

                   B. A m erican A irlinesC oncourse E Surveillance Footaze
         10.    On July 19,2019,law enforcem ent review ed video footage captured by an AA

 surveillance cam era located acrossthe aircrafttaxiw ay atM lA concourse E.The ca> era provides



 1       A pitottube isa smallmetaltube containing tiny holesatitstip. Itislocated on the outside ofthe
 aircraftand points in the direction oftravel. ltispal4 ofthe airplane'spitot-static system and helps
 determ ine airspeed,altitude,and altitude trend.
                                                   3
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  a vantage pointofM IA concourse D ,gates 45 through 51. The footage eaptures w hatappears to

  bethe sabotage ofthe TargetA ircraftatconcourse D , gate 49,asoccurring betw een 9:28 and 9:35

  a.m .EDT on July 17,2019. The surveillance footage shows an individual,later identified as

  ALANI,driving a white pickup truck and parking itnextto the TargetA ircraftatconcourse D ,

  gate 49. The driverdepicted in the footage appearsto be m ale, w ith a lightcom plexion,and hasa

  notieeable hiteh or lim p to his w alk. The m ale exits the vehicle and approaches the Target

 'Aircraft's E& E com partm entw here the A DM S are loeated. The video footage show s the m ale

 accessing thecom partm entforapproxim ately seven m inutes, betw een 9:28 to 9:35 a.m .ED T.The

 footagethen showsthemale entertheconcourse D,gate49jetbridgeusingtheoutdoorstairs.
 Afterspending lessthan oneminuteinthejetbridge,themalereturnstohisparkedpickuptruck
 and departsthe area atapproxim ately 9:36 a.m .EDT.

                N otably,there w asno previousreportofa m echanicalissue requiring accessto the

 E& E eom partm entof the Target A ireraft. Additionally,there w as not a pending w ork order to

 access the E& E com partm entof the TargetA ircraft. A ccordingly, the above-described conduct

 of the pickup tnlck driver in the E& E com partm ent ofthe Target A ircraft captured on the A A

 surveillance cam era w as notauthorized orrequested.

                                 C. Surveillance Footage from
                  A m erican A irlinesH anzar and M iam iD ade Aviation D epartm ent
        12.     Surveillance footage of the concourse D , gate 49 area from the M iam i-Dade

 AviationDepartment(M DAD)trackedthevehicledescribedaboveto AA'shangaratM IA,Bay
 1. ln an effortto identify the driver ofthe vehicle and thus,the individualw ho tam pered w ith the

 ADM oftheTargetAircraft,asdescribed above,law enforcem entreviewed additionalfootageof

 Bay 1. This footage show s that earlier on the m orning of July 17, 2019,the individual,later

 identified asA LAN I,walks,w ith a lim p,tow ardsseveralvehiclesparked nearthe hangar's aircraft


                                                 4
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  entranee. W hile walking,ALANIisobserved placing a safety veston hisuppm'torso. H e gets

  into a w hite crew cab pickup truck and drivesoutofcam era view towardsM 1A 's concourse D at

  approxim ately 9:07 a.m .ED T.

                A A M anagem ent for aircraftm aintenance at M 1A review ed the aforem entioned

  surveillance footage and believe that,based on the characteristic w alk, the m ale w ho entered the

 pickup truck atapproxim ately 9:07 a.m .EDT w as A LAN I. M D A D surveillance footage show s

 the pickup truek travelfrom the Bay 1hangarareato theTargetAircraftatconcourseD , gate 49.

 The pickup truck arrivesatgate 49 atapproxim ately 9:28 a.m .ED T.

         14.    N otably,according to AA m anagem entforaircraftm aintenance, A LAN Iw orks in

 aircraft m aintenance at AA 's hangar at M IA . H is m aintenance work is generally lim ited to

 disabled aircraftparked in the hangararea needing repairs. Accordingto AA,ALANIreported to

 w ork on July 16,2019,for his 10:00 p.m .to 6:30 a.m .shift. Atapproxim ately 6:00 a.m .on July

 17,2019,ALANIbegan a second shiftthatlasted until2:30 p.m . ALANIdid notnormally work

 the 6:00 a.m .to 2:30 p.m .shift. How ever,on July 17,2019, he w orked that shiftbecause he

 sw itched shifts with anotherm echanic.

                Aswith theAA surveillancefootageofConcourseD described above,the M DAD

 surveillance footage shows the driver ofthe pickup truck, later identified as ALAN I,exit the

 pickup tnlck and approaeh theTargetAircraft'sE&E eompartm entwheretheADM Sw erelocated.

 A LAN Iisseen in the footage aecessing the E& E com partm entforapproxim ately seven m inutes.

 H ethen w alksaw ay from the TargetA ircraftand disappearsfrom the M D A D cam era'sview .

                At approxim ately 9:36 a.m .ED T,the footage show s A LA N I return to the sam e

 pickup truck and departthe concourse D ,gate 49 area.Utilizing surveillaneefootage from M DA D

 cam eras,law enforcem enttraeked the pickup truck's m ovem entthrough the Air Operations A rea



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  (AOA)2afteritleftthegate49area.AA surveillancefootageofAA'shangar,Bay 1showsthe
 pickup tnlck anive and park in the hangaratapproxim ately 9:41 a.m .ED T.

                 At approxim ately 9:43 a.m . ED T, the A A hangar footage show s another A A

 employee,hereinafterPerson 1,enterthepickup truck. Secondslater,thefootage showsa second

 A A em ployee,hereinafter Person 2,approach the pickup truck from the passengerside and lean

 into the frontpassenger side w indow . Atapproxim ately 9:44 a.m .ED T , the footage show sa third

 A A em ployee,hereinafter Person 3,approach the vehicle from the driver's side. The footage

 show sthe driver ofthe pickup truck exitthe frontdriver's side ofthe vehiele and greetPerson 3.

 The rest ofthe em ployees,including the driver,proceed to greet each other. Subsequently,the

 driver,Person 1,and Person 2 are seen in the footage w alking tow ardsthe hangar's Bay 1 aircraft

 entrance and disappearing from the field ofview ofthe surveillance cam era. The footage show s

 Person3enterthepickuptruckthathadjustcomefrom gate49,and driveitoutofthehangar.
                              D . AdditionalIdentification ofA LA N I
         18.     On A ugust7,2019,1aw enforcem entinterview ed Person 3,who w orks in aircraft

 m aintenanceatM lA 'sterminalarea.Person 3arrivestowork through thehangarareaand requires

 transportation to the term inalarea.Typically,Person 3 travels from the hangarto theterm inalarea

 by asking anotherAA employeefora ridein an AA vehicleorby using an employee bus. Person

 3 indicated thathe rarely driveshim selfto the tenninal. A ccordingly, Person 3 w as able to recall

 thatthe lasttim e he drove him selfto the term inalw as som etim e in July 2019. H e explained that

 approxim ately tw o weeks to a m onth before the August7,2019,interview ,he reeeived a vehiele

 from A LA N I,w hich he then used to drivehim selfto the term inal. D uring the interview ofPerson

 3,law enforcem entshow ed Person 3 the A A video surveillance footage described above show ing


 2       TheAOA isan areaofthe airportthatisfenced in. A ccesstotheA OA isrestricted andisprim arily used
 forlanding,take-off,-surfacem aneuvering,and otherrelated aircrah activities.

                                                     6
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  the pickup truek aniving atthe hangar,Bay 1. Person 3 identitied the driver of the vehicle as

  ALAN I,and furthercommented thatALANI has a distindive w alk. Person 3 also identitied

 himself,Person 1,and Person 2 in the sulweillance footage. Person 3 identified him selfgetting

 into the vehicle thatwas driven by A LAN Iand driving itoutofthe hangar.

                On August 8,2019,1aw enforcem ent interview ed AA em ployee Person 2, w ho

 worksin aircraftm aintenance atAA 's hangar atM IA with ALANI. During the interview , 1aw

 enforcementshowed Person 2 the AA video surveillanee footage ofthe piekup tnzck arriving at

 the hangar,B ay 1. Person 2 identified him selfin the video as approaching the pickup tnlek and

 furtherindicated thathe(Person 2)wasalmostcertain thatALANIwasthedriverofthepickup
 truckthathe(Person 2)approached from thepassengerside. Accordingto Person2,asheleans
 into the passenger side w indow of the pickup truek,he proceeds to have a conversation w ith

 ALAN I,w ho is stillin the driver seatofthe pickup truck,aboutw hy A LAN Ineeded the vehicle

 whenthey(employeesatthehangar)had adifferenttruekassignedtothem .AccordingtoPerson
 2,atthis pointin the conversation,they see Person 3 approaching the pickup truck and A LA N I

 com m ents to Person 2 that they could give the vehicle to Person 3. Consistent w ith that

 conversation,the surveillance footage show s Person 3 enterthe pickup truck and drive it out of

 the hangar.

        20.    On August 8,2019, law enforcem ent interview ed A A em ployee Person 1,who

 w orks in aircraftm aintenance at A A 's hangar at M 1A with A LAN I. During the interview ,law

 enforcem entshowed Person 1the AA video surveillancefootage ofthepickup truck arriving at

 hangar,Bay 1.Person 1identified him self,Pezson 2 and Person 3. Further,he identitied the driver

 ofthe pickup truck asA LAN Ibased on hisunique w alk.




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                                     E. lnten riew ofA LAN I
                 On Septem ber 5,2019,law enforcem ent interview ed A LAN I in reference to the

  July 17,2019,aircraftsabotage incident. ALAN I identified him self as the driver of the pickup

  truck depicted in the surveillance footage described above. A dditionally,A LA N Iadm itted thathe

  accessed the A DM in the TargetA ircraft's forw ard E& E com partm ent. H e further adm itted that

  heinserted apieceoffoam into theADM 'Sinletwherethelineconnectsand thatheapplied super

  glue to the foam so asto preventthe foam from com ing off. A LA N Istated thathis intention w as

  notto cause harm to the aircraftoritspassengers.ALAN Ifurtheradvised thatafterhe accessed

  the E& E com partm entand tam pered with the A DM ,he w entup to the flightdeck ofthe Target

  Aircraftto check on w hetherthe TargetA ircraft's system detected the tam pered A D M . A LA N I

  explained to law enforcem entthathe w as upsetatthe stalled contractdispute betw een the union

  w orkers and A m ericaA irlines,and thatthis dispute had affected him financially. A LA N Iclaim ed

  thathe tampered with theTargetAircraftin orderto eause adelay orhavethe flightcancelled in

  anticipation ofobtaining overtim e work.

                                          CO N C LU SIO N

         22.     W itnesses identify A LAN I,an A A em ployee atM IA ,who w as w orking a 06:00

  a.m .to 2:30 p.m .EDT shifton July 17,2019,asthe driverofthe pickup truck thatparked in A A 's

  hangar at approxim ately 9:41 a.m .EDT,on July 17,2019. Further ALAN I,him self identified

  him selfas the driver ofthe pickup truck. Your A ftiant subm its thatALAN I is the driver ofthe

  pickup truck that law enforcem ent tracked using A A and M D AD surveillance footage. This

  footage show s the pickup truck, leave the hangar at approxim ately 9:07 a.m . EDT, park at

  concourse D ,gate 49,atapproxim ately 9:28 a.m .EDT. The footage then show s A LAN Iexitthe

  pickup truck,approach and enterthe E& E com partm entofthe TargetA ircraftfor approxim ately

  seven m inutes,leave concourse D ,gate 49 atapproxim ately 9:36 a.m .ED T,and arrive back to

                                                  8
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  AA 's hangar at approxim ately 9:41 a.m .ED T. Ful-ther A LAN I adm its to tam pering w ith the

  TargetA ircraft's AD M as described above.

         23.    Based on the foregoing,yourA ffiantsubm itsthere isprobable cause to believe that

  Abdul-Majeed M aroufAhmed ALANIwillfully damaged,destroyed,anddisabledan aircraftin
  the specialaircraftjurisdiction ofthe United States and any civilaircraftused,operated,and
  em ployed in interstate,overseas,and foreign aircom m erce,and attem pted to do so,in violation of

  Title18,UnitedStatesCode,Section32(a)(1)and(a)(8).
         FURTHER AFFIAN T SA YETH N AU G HT.
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  Subscribed an w o to efore                                   /611     /?''
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  m e thisthe      y o eptem ber,2019.
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  JOHN J.O 'S   lA
  CH IEF UN ITE STA S M A G ISTRA TE JU D GE
  SOU THERN D STRICT O F FLO RIDA




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